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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JOHN DOE I, et ai.,
Plaintiffs,

V. Case No. 1:01-ev-1357-RCL

EXXON MOBIL CORPORATION, et al.,

Defendants.

 

 

ORDER

For the reasons stated in the accompanying memorandum opinion, it is hereby ORDERED
that defendants’ motion [819] for summary judgment is GRANTED IN PART and DENIED IN
PART. The Court will GRANT defendants’ motion and enter judgment in favor of defendants
on the battery claims (Count 2) brought by Jane Doe VIII, John Doe II, and John Doe IV; the
assault claims (Count 3) brought by Jane Doe VIII, John Doe II, and John Doe IV; the arbitrary
arrest, detention and false imprisonment claims (Count 4) claims brought by Jane Doe VI, Jane
Doe VII, John Doe II, and John Doe IV; and the conversion claims (Count 8) brought by John
Doe II and Jane Doe VII. On all other claims, defendants’ motion for summary judgment is
DENIED.

It is further ORDERED that within 10 days of this order, the parties shall file a proposed
redacted version of the Court’s memorandum opinion for filing on the public docket. If the parties
disagree about particular redactions, they shall note the nature of their disagreement in a joint
filing.

It is further ORDERED that the parties shall file a joint status report within thirty days of

this order proposing a schedule for further proceedings in this matter. The parties shall also update
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the Court regarding plaintiffs’ efforts to obtain entry into the United States for trial. Defendants
shall provide an updated position—if applicable—on plaintiffs’ pending motion [835] for letters
from the Court to facilitate the visa'and parole process.

IT IS SO ORDERED.

Date: 7 Cee Zt : = fs

Royce C. Lamberth
United States District Judge

 
